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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 SHIVA STEIN,                                               :
                                                            :
                   Plaintiff,                               :   Civil Action No. 1:21-cv-5959
                                                            :
 v.                                                         :
                                                            :   COMPLAINT FOR VIOLATIONS OF
 FERRO CORPORATION, PETER T.                                :   SECTIONS 14(a) AND 20(a) OF THE
 THOMAS, DAVID A. LORBER, ANDREW                            :   SECURITIES EXCHANGE ACT OF
 M. ROSS, ALLEN A. SPIZZO, MARRAN                           :   1934
 OGILVIE, and RONALD P. VARGO,                              :
                                                            :   JURY TRIAL DEMANDED
                   Defendants.                              :
 --------------------------------------------------------   :

        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against Ferro Corporation (“Ferro or the

“Company”) and the members Ferro board of directors (the “Board” or the “Individual

Defendants” and collectively with the Company, the “Defendants”) for their violations of Sections

14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), in connection with

the proposed acquisition of Ferro by affiliates of PMHC II Inc. (“Prince”).

        2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Preliminary Proxy Statement on Schedule 14A

(the “Proxy Statement”) to be filed on July 9, 2021 with the United States Securities and Exchange

Commission (“SEC”) and disseminated to Company stockholders.                       The Proxy Statement

recommends that Company stockholders vote in favor of a proposed transaction whereby PMHC
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Merger Sub, Inc. (“Merger Sub”) will merge with and into Ferro, with Merger Sub ceasing to exist

and Ferro surviving as a direct or indirect wholly owned subsidiary of Prince (the “Proposed

Transaction”). Pursuant to the terms of the definitive agreement and plan of merger the companies

entered into (the “Merger Agreement”) each Ferro common share issued and outstanding will be

converted into the right to receive $22.00 in cash (the “Merger Consideration”).

       3.       As discussed below, Defendants have asked Ferro stockholders to support the

Proposed Transaction based upon the materially incomplete and misleading representations and

information contained in the Proxy Statement, in violation of Sections 14(a) and 20(a) of the

Exchange Act. Specifically, the Proxy Statement contains materially incomplete and misleading

information concerning the Company’s financial forecasts and financial analyses conducted by the

financial advisor of the Company, Lazard Frères & Co. LLC (“Lazard”) in support of its fairness

opinion, and relied upon by the Board in recommending the Company’s stockholders vote in favor

of the Proposed Transaction.

       4.       It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

       5.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Ferro stockholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.




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                                  JURISDICTION AND VENUE

        6.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        7.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        8.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because the closing of the Proposed Transaction will take

place in this District; the proxy solicitor of the Company is headquartered in this District, and

lastly, the Company’s stock is traded on the New York Stock Exchange, which is also

headquartered in this District.

                                              PARTIES

        9.       Plaintiff is, and has been at all relevant times, the owner of Ferro common stock

and has held such stock since prior to the wrongs complained of herein.

        10.      Individual Defendant Peter T. Thomas has served as a member of the Board since

April 2013 and is the Chairman of the Board and President and Chief Executive Officer of the

Company.

        11.      Individual Defendant David A. Lorber has served as a member of the Board since

2013 and Lead Director since 2018.

        12.      Individual Defendant Andrew M. Ross has served as a member of the Board since

2016.


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        13.     Individual Defendant Allen A. Spizzo has served as a member of the Board since

2016.

        14.     Individual Defendant Marran Ogilvie has served as a member of the Board since

2017.

        15.     Individual Defendant Ronald P. Vargo has served as a member of the Board since

2009.

        16.     Defendant Ferro is incorporated in Ohio and maintains its principal offices at 6060

Parkland Boulevard, Suite 250, Mayfield Heights, Ohio 44124. The Company’s common stock

trades on the New York Stock Exchange under the symbol “FOE.”

        17.     The defendants identified in paragraphs 10-15 are collectively referred to as the

“Individual Defendants” or the “Board.”

        18.     The defendants identified in paragraphs 10-16 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.      The Proposed Transaction

        19.     Ferro produces and markets specialty materials in the United States, Europe, the

Middle East, Africa, the Asia Pacific, and Latin America. It operates through two segments,

Functional Coatings and Color Solutions. The Company offers frits, porcelain and other glass

enamels, glazes, stains, decorating colors, pigments, inks, polishing materials, dielectrics,

electronic glasses, and other specialty coatings. It also provides slurry-based polishing products

for the semiconductor and optoelectronics industry; decorative coatings for glass and high-

performance plastics coatings; and dielectrics and electronic ink products for component

applications. The Company’s products are used in appliances, electronics, automotive, industrial

products, building and renovation, packaging, consumer products, sanitary, construction,


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healthcare, food and beverage, information technology, energy, and defense industries. It markets

and sells its products directly, as well as through agents and distributors. Ferro was founded in

1919 and is headquartered in Mayfield Heights, Ohio.

       20.     On May 11, 2021, Prince announced that it and Ferro had entered into a proposed

transaction:

               HOUSTON, May 11, 2021 /PRNewswire/ -- Prince International
               Corporation (“Prince”), a portfolio company of American Securities
               LLC, announced today that it is acquiring Ferro Corporation
               for $22.00 per share in cash, in a transaction valued at
               approximately $2.1 billion, including the assumption of debt, net of
               cash. The agreement has been unanimously approved by Ferro’s
               Board of Directors.

               In conjunction with the closing of the transaction, the company will
               combine with Chromaflo Technologies, a premier global provider
               of colorant technology solutions and also an American Securities
               portfolio company. The combination of Prince, Ferro and
               Chromaflo will result in a global diversified business with sales of
               approximately $2 billion.

               “We are thrilled about combining Prince, Ferro, and Chromaflo,
               each a leader in their respective markets, to form a true global
               technology leader in color solutions, functional coatings and
               specialty minerals,” said D. Michael Wilson, Prince CEO. “The
               combination will result in a company with unmatched competencies
               in particle engineering, glass science and color technology. It will
               enhance our ability, on a global scale, to deliver state-of-the art
               products and innovative solutions that enrich everyday life.”

               The transaction is expected to close during the first quarter of 2022,
               subject to the approval of Ferro shareholders and the satisfaction of
               customary closing conditions, including applicable regulatory
               approvals.

               Morgan Stanley & Co. LLC and Barclays served as financial
               advisors for Prince International Corporation and Kirkland & Ellis
               LLP served as legal advisor. Lazard Freres & Co. LLC served as
               financial advisor for Ferro Corporation and Simpson Thacher &
               Bartlett LLP served as legal advisor.

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       21.     The Board has unanimously approved the Proposed Transaction. It is therefore

imperative that Ferro’s stockholders are provided with the material information that has been

omitted from the Proxy Statement, so that they can meaningfully assess whether or not the

Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Proxy Statement

       22.     On July 9, 2021, Ferro filed the Proxy Statement with the SEC in connection with

the Proposed Transaction. The Proxy Statement was furnished to the Company’s stockholders and

solicits the stockholders to vote in favor of the Proposed Transaction. The Individual Defendants

were obligated to carefully review the Proxy Statement before it was filed with the SEC and

disseminated to the Company’s stockholders to ensure that it did not contain any material

misrepresentations or omissions. However, the Proxy Statement misrepresents and/or omits

material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning Ferro Financial Projections

       23.     The Proxy Statement fails to provide material information concerning financial

projections by Ferro management and relied upon by Lazard in its analysis. The Proxy Statement

discloses financial projections for the Company prepared by Company management and

extrapolations prepared by Morgan Stanley which are materially misleading. The Proxy Statement

indicates that in connection with the rendering of its fairness opinion, that the Company prepared

certain non-public financial forecasts (the “Company Projections”) and provided them to the Board

and the financial advisors with forming a view about the stand-alone valuation of the Company.

Accordingly, the Proxy Statement should have, but fails to provide, certain information in the



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projections that Ferro management provided to the Board and the financial advisors. Courts have

uniformly stated that “projections … are probably among the most highly-prized disclosures by

investors. Investors can come up with their own estimates of discount rates or [] market multiples.

What they cannot hope to do is replicate management’s inside view of the company’s prospects.”

In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       24.     For the Company Projections, the Proxy Statement provides values for the non-

GAAP (Generally Accepted Accounting Principles) financial metric Adjusted EBITDA but fails

to provide line items used to calculate these metrics and/or a reconciliation of these non-GAAP

metrics to their most comparable GAAP measures, in direct violation of Regulation G and

consequently Section 14(a).

       25.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their corporate

suffrage rights in a particular manner, the company must, pursuant to SEC regulatory mandates,

also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       26.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, “free cash flow” should not be used in a
               manner that inappropriately implies that the measure represents the



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                residual cash flow available for discretionary expenditures, since
                many companies have mandatory debt service requirements or other
                non-discretionary expenditures that are not deducted from the
                measure.1

       27.      Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,

Defendants must provide a reconciliation table of the non-GAAP measure to the most comparable

GAAP measure to make the non-GAAP metric included in the Proxy Statement not misleading.

       28.      In addition, the Proxy Statement fails to disclose the unlevered, after-tax free cash

flows that Ferro was forecasted to generate in the nine months ended December 31, 2021 and

between fiscal years 2022 and 2025 that were used by Lazard in its Discounted Cash Flow

Analysis.

Omissions and/or Material Misrepresentations Concerning Morgan Stanley’s Financial Analysis

       29.      With respect to Lazard’s Precedent Transactions Valuation analysis, the Proxy

Statement fails to disclose: (i) the individual multiples and metrics for the companies and

transactions observed by Lazard in the analysis, including, among other things, (a) the enterprise

value and EBITDA of each of the target companies; (b) the acquisition price of each transaction;

(ii) the inputs and assumptions underlying the EV to EBITDA multiple range of 9.5x to 11.5x to

Ferro’s last twelve months adjusted EBITDA as of March 31, 2021.

       30.      With respect to Lazard’s Public Trading Comparables Valuation analysis, the

Proxy Statement fails to disclose: (i) the individual multiples and metrics for the companies

observed by Lazard in the analysis




1
 U.S. Securities and Exchange Commission, Non-GAAP Financial Measures, last updated April
4, 2018, available at: https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm

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       31.     With respect to Lazard’s Discounted Cash Flow Analysis, the Proxy Statement fails

to disclose: (i) implied terminal value of the Company as of December 31, 2025; (ii) the

Company’s estimated future unlevered, after-tax free cash flows for the nine months ended

December 31, 2021 and between fiscal years 2022 and 2025; (iii) inputs and assumptions

underlying the perpetuity growth rate of 1% to 2% to the normalized estimated 2025 unlevered,

after-tax free cash flows and a perpetuity growth rate of 0% to the estimated 2025 unlevered, after-

tax free cash flow generated by cost savings from restructuring programs and optimization

initiatives, pension, restructuring and other cash charges; (iv) the basis for applying a discount rate

of 9.0% to 10.0%; (v) the market data as of May 7, 2021 observed; (vi) the analysis of the weighted

average cost of capital of the selected companies; (vii) estimated net debt and estimated

noncontrolling interest of the Company as of March 31, 2021; (viii) Company share count data as

of .

       32.     With respect to Lazard’s Present Value of Future Share Price analysis, the Proxy

Statement fails to disclose: (i) projected net debt and noncontrolling interest based on the

Projections; (ii) the inputs and assumptions underlying the NTM/EBITDA multiples of 8.1x to

10.1x to Ferro’s estimated forward EBITDA from fiscal year 2021 to fiscal year 2024; (iii) the

future enterprise value range for Ferro; (iv) equity value range; (v) the inputs and assumptions

underlying the discount rate of 10.8%; (vi) the estimate of Ferro’s cost of equity

       33.     With respect to Morgan Stanley’s Multiples Paid analysis, the Proxy Statement

fails to disclose: (i) the implied fully-diluted enterprise value of the target companies; (ii) analyst

estimates of the next-twelve-months EBITDA of the target companies; (iii) net debt and Series A

preferred stock balances; and (iv) number of fully-diluted shares of the Company.




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          34.   With respect to Lazard’s engagement as the Company’s financial advisor, the Proxy

Statement fails to disclose the amount of compensation earned by Lazard for services provided to

Ferro and an affiliate of Price during the past two years.

          35.   In sum, the omission of the above-referenced information renders statements in the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the special stockholder meeting

to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened with

irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          36.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          37.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          38.   Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.            Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, among other things, financial



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analyses that were prepared by Lazard and relied upon by the Board in recommending the

Company’s stockholders vote in favor of the Proposed Transaction.

       39.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such

information to stockholders although they could have done so without extraordinary effort.

       40.     Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence. Defendants were

negligent in choosing to omit material information from the Proxy Statement or failing to notice

the material omissions in the Proxy Statement upon reviewing it, which they were required to do

carefully. Indeed, Defendants were intricately involved in the process leading up to the signing of

the Merger Agreement and the preparation and review of strategic alternatives and the Company’s

financial projections.

       41.     The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate

remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.




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                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          42.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          43.   The Individual Defendants acted as controlling persons of Ferro within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as directors of

Ferro, and participation in and/or awareness of the Company’s operations and/or intimate

knowledge of the incomplete and misleading statements contained in the Proxy Statement filed

with the SEC, they had the power to influence and control and did influence and control, directly

or indirectly, the decision making of Ferro, including the content and dissemination of the various

statements that Plaintiff contends are materially incomplete and misleading.

          44.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          45.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Ferro, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act violations

alleged herein, and exercised the same. The omitted information identified above was reviewed

by the Board prior to voting on the Proposed Transaction. The Proxy Statement at issue contains

the unanimous recommendation of the Board to approve the Proposed Transaction. The Individual

Defendants were thus directly involved in the making of the Proxy Statement.




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       46.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy Statement purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       47.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       48.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       49.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;

       B.      Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;


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          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.




 Dated: July 12, 2021                               MELWANI & CHAN LLP

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